  Case 8:20-cv-01973-JLS-DFM Document 47-6 Filed 04/16/21 Page 1 of 2 Page ID #:1463

Norma V. Garcia/Jeffrey M. Blank                         SBN: 223512/217522
GARCIA RAINEY BLANK & BOWERBANK LLP
695 Town Center Drive Suite 700, Costa Mesa, CA 92626
                 (714) 382-7000
                 ngarciaguillen@garciarainey.c           (714) 784-0031
                 om
                 Plaintiffs Clifford A. Rosen and Ronald Christensen

                   411 W. Fourth Street
                   411 W. Fourth Street
                   Santa Ana, CA 92701
                   Ronald Reagan Federal Building and United States Courthouse

           Clifford Rosen, et al.

             Urban Commons, LLC et al.

                                                                                                     8:20-cv-01973-JLS-DFM
                     X




       X




    Taylor R. Woods, 142 E. Clearvue Dr., Meridian, ID 83646-5212
                                             $750,000
                                        Clifford A. Rosen and Ronald Christensen, c/o Norma V. Garcia, Garcia Rainey Blank & Bowerbank LLP,
     695 Town Center Drive Suite 700, Costa Mesa, CA 92626



                                                                                                  SEE ATTACHMENT 1




        X
Case 8:20-cv-01973-JLS-DFM Document 47-6 Filed 04/16/21 Page 2 of 2 Page ID #:1464




            ATTACHMENT 1 – Property of Defendant Taylor Woods (“Woods”)


          Wood’s real property, including the real property located at:

             1. 142 E. Clearvue Dr., Meridian, ID 83646-5212,

             2. 826 Emerald Bay, Laguna Beach, CA 92651, and

             3. Any other real property owned or held by Woods, where in whole or in part;
                and


          Wood’s personal property, including:

             1. All bank accounts, foreign or domestic, held by Taylor Woods,

             2. All investment accounts, foreign or domestic, held by Taylor Woods,

             3. All escrow accounts held by Taylor Woods,

             4. All client trust accounts,

             5. Accounts receivable, chattel paper, and general intangibles arising out of the
   conduct by Taylor Woods of a trade, business, or profession, except any such individual
   claim with a principal balance of less than one hundred and fifty dollars ($150),

             6. Negotiable documents of title,

             7. Securities in any business entity, which may include, without limitation,
   Urban Commons, LLC, Bumbleweed LC; Cordova NCE LP, Double W LLC; UCF 1 LLC;
   CCCH, LLC; 2W Asset Management, LLC; Gramercy HoldCo, LLC; Urban Commons
   Global, LLC; Genesis Poly, LLC; Gramercy Investments, LP; Newport Bayside Resort,
   LLC; Queensway HoldCo, LLC; Queensway II, LP; Queensway, LP; UCCH Investments,
   LP; UCDanll, LLC; Woods Development, LLC; Eagle Asset; Management, LLC; Eagle
   Hospitality REIT Management Pte. Ltd.; Eagle Hospitality Real Estate Investment Trust;
   Eagle Hospitality Business Trust Management Pte. Ltd.,

             8. Any vehicles owned by Taylor Woods, and

             9. Any other allowable categories of property pursuant to Section 485.210 et
   seq., whether owned or held, in whole or in part, by Defendant Taylor Woods.

                                                 1
                 ATTACHMENT 1 – PROPERTIES OF TAYLOR WOODS
